0011-35-EPIE35-00370250-323572

                                 UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF OHIO
                                                         EASTERN DIVISION

In re: MELISSA A MARFLAK                                                                               Case No.: 07-18755-aih

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Craig Shopneck, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 11/15/2007.
2) The plan was confirmed on 02/28/2008.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 04/01/2009.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 07/21/2009, 10/27/2009, 08/10/2010.
5) The case was dismissed on 12/07/2010.
6) Number of months from filing or conversion to last payment: 36.
7) Number of months case was pending: 37.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 7,600.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $10,412.54
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                   $10,412.54

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                  $2,950.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                       $580.56
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $3,530.56

 Attorney fees paid and disclosed by debtor:                $800.00




 Scheduled Creditors:
Creditor                                                     Claim               Claim           Claim          Principal        Interest
Name                                         Class           Scheduled           Asserted        Allowed        Paid             Paid
BUCHALTER NEMER                              Unsecured                   NA            NA             NA              .00               .00
CHECK & MERCHANT SERVICES                    Unsecured                   NA            NA             NA              .00               .00
CHRYSLER FINANCIAL                           Secured           11,610.84        11,610.84      11,610.84         2,954.66        2,488.61
CHRYSLER FINANCIAL                           Unsecured                   NA            NA             NA              .00               .00
CITI RESIDENTIAL LENDING INC                 Secured          102,784.00       113,949.34     113,949.34              .00               .00
CITI RESIDENTIAL LENDING INC                 Secured                     NA     13,053.10         574.25           574.25               .00
CITI RESIDENTIAL LENDING INC                 Secured              700.00           700.00             .00             .00               .00
CITY OF CLEVELAND                            Unsecured            250.39           626.77         626.77            82.60               .00
COLUMBIA GAS OF OHIO INC                     Unsecured            348.00           409.44         409.44            53.96               .00
DELL FINANCIAL SERVICES LP                   Unsecured          1,885.63          1,885.63       1,885.63          248.51               .00
EMERGENCY PROFESSIONAL SERVICESUnsecured
                                INC                                 81.00              NA             NA              .00               .00
FIRST PREMIER BANK                           Unsecured                   NA            NA             NA              .00               .00
GOLETA BANK/ACE                              Unsecured            493.25           524.81         524.81            69.16               .00
GREGORY A STOUT                              Unsecured                   NA            NA             NA              .00               .00
HSBC                                         Unsecured            568.46               NA             NA              .00               .00

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                                  UNITED STATES BANKRUPTCY COURT
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In re: MELISSA A MARFLAK                                                                                Case No.: 07-18755-aih

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                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim          Claim          Principal        Interest
Name                                         Class            Scheduled           Asserted       Allowed        Paid             Paid
ILLUMINATING COMPANY                         Unsecured             277.53           242.40         242.40           23.28                .00
JC MAYER PLUMBING                            Unsecured             190.00              NA              NA              .00               .00
MANLEY DEAS KOCHALSKI LLC                    Unsecured                NA               NA              NA              .00               .00
NATIONAL CASH ADVANCE                        Unsecured             482.00              NA              NA              .00               .00
ORCHARD BANK                                 Unsecured             645.72              NA              NA              .00               .00
PRA RECEIVABLES MANAGEMENT LLC Unsecured                           811.73           876.44         876.44          115.51                .00
QUEST DIAGNOSTICS                            Unsecured              75.10              NA              NA              .00               .00
RECOVERY MANAGEMENT SYSTEMS CORP
                             Unsecured                                NA               NA              NA              .00               .00
U S DEPT OF EDUCATION                        Unsecured           1,959.00         2,059.66       2,059.66          271.44                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal        Interest
                                                                                                 Allowed        Paid             Paid
 Secured Payments:
     Mortgage Ongoing:                                                                               .00              .00             .00
     Mortgage Arrearage:                                                                          574.25           574.25             .00
     Debt Secured by Vehicle:                                                                  11,610.84         2,954.66        2,488.61
     All Other Secured:                                                                       113,949.34              .00             .00
 TOTAL SECURED:                                                                               126,134.43         3,528.91        2,488.61

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00             .00               .00
     Domestic Support Ongoing:                                                                         .00             .00               .00
     All Other Priority:                                                                               .00             .00               .00
 TOTAL PRIORITY:                                                                                       .00             .00               .00

 GENERAL UNSECURED PAYMENTS:                                                                     6,625.15          864.46                .00

 Disbursements:
        Expenses of Administration:                                                             $3,530.56
        Disbursements to Creditors:                                                             $6,881.98
 TOTAL DISBURSEMENTS:                                                                                                          $10,412.54

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     12/30/2010                                     By:   /s/Craig Shopneck
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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